     Case 2:24-cv-06662-MRA-RAO Document 1 Filed 08/07/24 Page 1 of 13 Page ID #:1



      SO. CAL. EQUAL ACCESS GROUP
 1    Jason J. Kim (SBN 190246)
      Jason Yoon (SBN 306137)
 2    Kevin Hong (SBN 299040)
      101 S. Western Ave., Second Floor
 3    Los Angeles, CA 90004
      Telephone: (213) 205-6560
 4    cm@SoCalEAG.com
 5    Attorneys for Plaintiff
      LAMAR MYERS
 6
 7
                                 UNITED STATES DISTRICT COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
10                                               Case No.:
      LAMAR MYERS,
11                 Plaintiff,                    COMPLAINT FOR INJUNCTIVE
                                                 RELIEF AND DAMAGES FOR DENIAL
12          vs.                                  OF CIVIL RIGHTS OF A DISABLED
                                                 PERSON IN VIOLATIONS OF
13
                                                 1. AMERICANS WITH DISABILITIES
14                                               ACT, 42 U.S.C. §12131 et seq.;
      BROTHERS AUTOMOTIVE, INC; 14050
15    ROSECRANS AVE, LLC; and DOES 1 to          2. CALIFORNIA’S UNRUH CIVIL
      10,                                        RIGHTS ACT;
16
                   Defendants.                   3. CALIFORNIA’S DISABLED
17                                               PERSONS ACT;
18                                               4. CALIFORNIA HEALTH & SAFETY
                                                 CODE;
19
                                                 5. NEGLIGENCE
20
21
22
23
            Plaintiff LAMAR MYERS (“Plaintiff”) complains of Defendants BROTHERS
24
      AUTOMOTIVE, INC; 14050 ROSECRANS AVE, LLC; and DOES 1 to 10
25
      (“Defendants”) and alleges as follows:
26
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      //
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                                          COMPLAINT - 1
     Case 2:24-cv-06662-MRA-RAO Document 1 Filed 08/07/24 Page 2 of 13 Page ID #:2




 1                                               PARTIES
 2             1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3    substantially limited in his ability to walk due to a spinal cord injury. Plaintiff requires
 4    the use of a wheelchair at all times when traveling in public.
 5             2.   Defendants are, or were at the time of the incident, the real property owners,
 6    business operators, lessors and/or lessees of the real property for an auto repair shop
 7    (“Business”) located at or about 14050 Rosecrans Ave., Santa Fe Springs, California.
 8             3.   The true names and capacities, whether individual, corporate, associate or
 9    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11    Court to amend this Complaint when the true names and capacities have been
12    ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
13    fictitiously named Defendants are responsible in some manner, and therefore, liable to
14    Plaintiff for the acts herein alleged.
15             4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18    the things alleged herein was acting with the knowledge and consent of the other
19    Defendants and within the course and scope of such agency or employment relationship.
20             5.   Whenever and wherever reference is made in this Complaint to any act or
21    failure to act by a defendant or Defendants, such allegations and references shall also be
22    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23    and severally.
24                                  JURISDICTION AND VENUE
25             6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27    seq.).
28




                                               COMPLAINT - 2
     Case 2:24-cv-06662-MRA-RAO Document 1 Filed 08/07/24 Page 3 of 13 Page ID #:3




 1          7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2    arising from the same nucleus of operating facts, are also brought under California law,
 3    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4    54, 54., 54.3 and 55.
 5          8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6          9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7    property which is the subject of this action is located in this district, Los Angeles County,
 8    California, and that all actions complained of herein take place in this district.
 9                                      FACTUAL ALLEGATIONS
10          10.    In or about May of 2024, Plaintiff went to the Business.
11          11.    The Business is an auto repair shop business establishment, open to the
12    public, and is a place of public accommodation that affects commerce through its
13    operation. Defendants provide parking spaces for customers.
14          12.    While attempting to enter the Business during each visit, Plaintiff personally
15    encountered a number of barriers that interfered with his ability to use and enjoy the
16    goods, services, privileges, and accommodations offered at the Business.
17          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18    included, but were not limited to, the following:
19                 a.     Defendants failed to comply with the federal and state standards for
20                        the parking space designated for persons with disabilities. Defendants
21                        failed to post required signage such as “Van Accessible,” and
22                        “Minimum Fine $250”.
23                 b.     Defendants failed to comply with the federal and state standards for
24                        the parking space designated for persons with disabilities. Defendants
25                        failed to provide proper van accessible space designated for the
26                        persons with disabilities as there were no “NO PARKING” markings
27                        painted on the surface of the access aisle. Additionally, Defendants
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                                             COMPLAINT - 3
     Case 2:24-cv-06662-MRA-RAO Document 1 Filed 08/07/24 Page 4 of 13 Page ID #:4




 1                        failed to provide the minimum width requirement for the van
 2                        accessible aisle.
 3                 c.     Defendants failed to comply with the federal and state standards for
 4                        the parking space designated for persons with disabilities. Defendants
 5                        failed to paint the ground as required.
 6                 d.     Defendants failed to maintain the parking space designated for
 7                        persons with disabilities to comply with the federal and state
 8                        standards. Defendants failed to maintain the mark on the space with
 9                        the International Symbol of Accessibility, resulting in the paint
10                        becoming severely deteriorated, hindering visibility.
11                 e.     Defendants failed to maintain the parking space designated for
12                        persons with disabilities to comply with the federal and state
13                        standards. Defendants failed to maintain the blue borderlines and blue
14                        hatched lines paint on the ground as required, resulting in the
15                        markings becoming severely deteriorated, hindering visibility.
16                 f.     Defendants failed to maintain the parking space designated for
17                        persons with disabilities to comply with the federal and state
18                        standards. Defendants failed to provide an adequate number of
19                        accessible parking spaces designated for the persons with disabilities.
20          14.    These barriers and conditions denied Plaintiff full and equal access to the
21    Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
22    patronize the Business; however, Plaintiff is deterred from visiting the Business because
23    his knowledge of these violations prevents him from returning until the barriers are
24    removed.
25          15.    Based on the violations, Plaintiff alleges, on information and belief, that
26    there are additional barriers to accessibility at the Business after further site inspection.
27    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
28    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).



                                              COMPLAINT - 4
     Case 2:24-cv-06662-MRA-RAO Document 1 Filed 08/07/24 Page 5 of 13 Page ID #:5




 1          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 2    knew that particular barriers render the Business inaccessible, violate state and federal
 3    law, and interfere with access for the physically disabled.
 4          17.    At all relevant times, Defendants had and still have control and dominion
 5    over the conditions at this location and had and still have the financial resources to
 6    remove these barriers without much difficulty or expenses to make the Business
 7    accessible to the physically disabled in compliance with ADDAG and Title 24
 8    regulations. Defendants have not removed such barriers and have not modified the
 9    Business to conform to accessibility regulations.
10                                      FIRST CAUSE OF ACTION
11           VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
12          18.    Plaintiff incorporates by reference each of the allegations in all prior
13    paragraphs in this complaint.
14          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
15    shall be discriminated against on the basis of disability in the full and equal enjoyment of
16    the goods, services, facilities, privileges, advantages, or accommodations of any place of
17    public accommodation by any person who owns, leases, or leases to, or operates a place
18    of public accommodation. See 42 U.S.C. § 12182(a).
19          20.    Discrimination, inter alia, includes:
20                 a.     A failure to make reasonable modification in policies, practices, or
21                        procedures, when such modifications are necessary to afford such
22                        goods, services, facilities, privileges, advantages, or accommodations
23                        to individuals with disabilities, unless the entity can demonstrate that
24                        making such modifications would fundamentally alter the nature of
25                        such goods, services, facilities, privileges, advantages, or
26                        accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
27                 b.     A failure to take such steps as may be necessary to ensure that no
28                        individual with a disability is excluded, denied services, segregated or



                                            COMPLAINT - 5
     Case 2:24-cv-06662-MRA-RAO Document 1 Filed 08/07/24 Page 6 of 13 Page ID #:6




 1                        otherwise treated differently than other individuals because of the
 2                        absence of auxiliary aids and services, unless the entity can
 3                        demonstrate that taking such steps would fundamentally alter the
 4                        nature of the good, service, facility, privilege, advantage, or
 5                        accommodation being offered or would result in an undue burden. 42
 6                        U.S.C. § 12182(b)(2)(A)(iii).
 7                 c.     A failure to remove architectural barriers, and communication barriers
 8                        that are structural in nature, in existing facilities, and transportation
 9                        barriers in existing vehicles and rail passenger cars used by an
10                        establishment for transporting individuals (not including barriers that
11                        can only be removed through the retrofitting of vehicles or rail
12                        passenger cars by the installation of a hydraulic or other lift), where
13                        such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
14                 d.     A failure to make alterations in such a manner that, to the maximum
15                        extent feasible, the altered portions of the facility are readily
16                        accessible to and usable by individuals with disabilities, including
17                        individuals who use wheelchairs or to ensure that, to the maximum
18                        extent feasible, the path of travel to the altered area and the
19                        bathrooms, telephones, and drinking fountains serving the altered
20                        area, are readily accessible to and usable by individuals with
21                        disabilities where such alterations to the path or travel or the
22                        bathrooms, telephones, and drinking fountains serving the altered area
23                        are not disproportionate to the overall alterations in terms of cost and
24                        scope. 42 U.S.C. § 12183(a)(2).
25          21.    Where parking spaces are provided, accessible parking spaces shall be
26    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
27    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
28    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA



                                             COMPLAINT - 6
     Case 2:24-cv-06662-MRA-RAO Document 1 Filed 08/07/24 Page 7 of 13 Page ID #:7




 1    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 2    be a van accessible parking space. 2010 ADA Standards § 208.2.4.
 3          22.    Under the ADA, the method and color of marking are to be addressed by
 4    State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
 5    Building Code (“CBC”), the parking space identification signs shall include the
 6    International Symbol of Accessibility. Parking identification signs shall be reflectorized
 7    with a minimum area of 70 square inches. Additional language or an additional sign
 8    below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
 9    parking space identification sign shall be permanently posted immediately adjacent and
10    visible from each parking space, shall be located with its centerline a maximum of 12
11    inches from the centerline of the parking space and may be posted on a wall at the
12    interior end of the parking space. See CBC § 11B-502.6, et seq.
13          23.    Moreover, an additional sign shall be posted either in a conspicuous place at
14    each entrance to an off-street parking facility or immediately adjacent to on-site
15    accessible parking and visible from each parking space. The additional sign shall not be
16    less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
17    letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
18    designated accessible spaces not displaying distinguishing placards or special license
19    plates issued for persons with disabilities will be towed away at the owner’s expense…”
20    See CBC § 11B-502.8, et seq.
21          24.    Here, Defendants failed to provide the signs stating, “Minimum Fine $250”
22    and “Van Accessible.”
23          25.    For the parking spaces, access aisles shall be marked with a blue painted
24    borderline around their perimeter. The area within the blue borderlines shall be marked
25    with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
26    with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
27    be painted on the surface within each access aisle in white letters a minimum of 12 inches
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                                            COMPLAINT - 7
     Case 2:24-cv-06662-MRA-RAO Document 1 Filed 08/07/24 Page 8 of 13 Page ID #:8




 1    (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
 2    11B-502.3.3.
 3          26.    Here, Defendants failed to provide a proper access aisle as there were no
 4    “NO PARKING” markings painted on the parking surface. Additionally, the blue
 5    borderlines and blue hatched lines painted on the parking surface were poorly
 6    maintained, resulting in the markings becoming severely deteriorated, hindering
 7    visibility. Moreover, Defendants failed to provide the access aisle with the minimum
 8    width of 96 inches.
 9          27.    The surface of each accessible car and van space shall have surface
10    identification complying with either of the following options: The outline of a profile
11    view of a wheelchair with occupant in white on a blue background a minimum 36” wide
12    by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
13    of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
14    length of the parking space and its lower side or corner aligned with the end of the
15    parking space length or by outlining or painting the parking space in blue and outlining
16    on the ground in white or a suitable contrasting color a profile view of a wheel chair with
17    occupant. See CBC § 11B-502.6.4, et seq.
18          28.    Here, Defendants failed to maintain the International Symbol of
19    Accessibility painted on the surface as required, resulting in the markings becoming
20    severely deteriorated, hindering visibility.
21          29.    Parking spaces complying with 502 shall be provided in accordance with
22    Table 208.2 except as required by 208.2.1, 208.2.2, and 208.2.2.3. 2010 ADA Standards
23    § 208.2. Where more than one parking facility is provided on a site, the number of
24    accessible spaces provided on the site shall be calculated according to the number of
25    spaces required for each parking facility. Id.
26          30.    Here, Defendants failed to provide adequate numbers of accessible parking
27    spaces in its facility as there was only one accessible parking space while there were
28    about 27 parking spaces for the parking lot.



                                             COMPLAINT - 8
     Case 2:24-cv-06662-MRA-RAO Document 1 Filed 08/07/24 Page 9 of 13 Page ID #:9




 1          31.      A public accommodation shall maintain in operable working condition those
 2    features of facilities and equipment that are required to be readily accessible to and usable
 3    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 4          32.      By failing to maintain the facility to be readily accessible and usable by
 5    Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
 6    regulations.
 7          33.      The Business has denied and continues to deny full and equal access to
 8    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
 9    discriminated against due to the lack of accessible facilities, and therefore, seeks
10    injunctive relief to alter facilities to make such facilities readily accessible to and usable
11    by individuals with disabilities.
12                                  SECOND CAUSE OF ACTION
13                      VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
14          34.      Plaintiff incorporates by reference each of the allegations in all prior
15    paragraphs in this complaint.
16          35.      California Civil Code § 51 states, “All persons within the jurisdiction of this
17    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
18    national origin, disability, medical condition, genetic information, marital status, sexual
19    orientation, citizenship, primary language, or immigration status are entitled to the full
20    and equal accommodations, advantages, facilities, privileges, or services in all business
21    establishments of every kind whatsoever.”
22          36.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
23    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
24    for each and every offense for the actual damages, and any amount that may be
25    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
26    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
27    attorney’s fees that may be determined by the court in addition thereto, suffered by any
28    person denied the rights provided in Section 51, 51.5, or 51.6.



                                              COMPLAINT - 9
     Case 2:24-cv-06662-MRA-RAO Document 1 Filed 08/07/24 Page 10 of 13 Page ID #:10




 1           37.    California Civil Code § 51(f) specifies, “a violation of the right of any
 2     individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 3     shall also constitute a violation of this section.”
 4           38.    The actions and omissions of Defendants alleged herein constitute a denial
 5     of full and equal accommodation, advantages, facilities, privileges, or services by
 6     physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 7     Defendants have discriminated against Plaintiff in violation of California Civil Code §§
 8     51 and 52.
 9           39.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
10     difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
11     damages as specified in California Civil Code §55.56(a)-(c).
12                                    THIRD CAUSE OF ACTION
13                  VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
14           40.    Plaintiff incorporates by reference each of the allegations in all prior
15     paragraphs in this complaint.
16           41.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
17     entitled to full and equal access, as other members of the general public, to
18     accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
19     and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
20     railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
21     of transportation (whether private, public, franchised, licensed, contracted, or otherwise
22     provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
23     places of public accommodations, amusement, or resort, and other places in which the
24     general public is invited, subject only to the conditions and limitations established by
25     law, or state or federal regulation, and applicable alike to all persons.
26           42.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
27     corporation who denies or interferes with admittance to or enjoyment of public facilities
28     as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an



                                              COMPLAINT - 10
     Case 2:24-cv-06662-MRA-RAO Document 1 Filed 08/07/24 Page 11 of 13 Page ID #:11




 1     individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 2     the actual damages, and any amount as may be determined by a jury, or a court sitting
 3     without a jury, up to a maximum of three times the amount of actual damages but in no
 4     case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 5     determined by the court in addition thereto, suffered by any person denied the rights
 6     provided in Section 54, 54.1, and 54.2.
 7           43.    California Civil Code § 54(d) specifies, “a violation of the right of an
 8     individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
 9     constitute a violation of this section, and nothing in this section shall be construed to limit
10     the access of any person in violation of that act.
11           44.    The actions and omissions of Defendants alleged herein constitute a denial
12     of full and equal accommodation, advantages, and facilities by physically disabled
13     persons within the meaning of California Civil Code § 54. Defendants have
14     discriminated against Plaintiff in violation of California Civil Code § 54.
15           45.    The violations of the California Disabled Persons Act caused Plaintiff to
16     experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
17     statutory damages as specified in California Civil Code §55.56(a)-(c).
18                                  FOURTH CAUSE OF ACTION
19                  CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
20           46.    Plaintiff incorporates by reference each of the allegations in all prior
21     paragraphs in this complaint.
22           47.    Plaintiff and other similar physically disabled persons who require the use of
23     a wheelchair are unable to use public facilities on a “full and equal” basis unless each
24     such facility is in compliance with the provisions of California Health & Safety Code §
25     19955 et seq. Plaintiff is a member of the public whose rights are protected by the
26     provisions of California Health & Safety Code § 19955 et seq.
27           48.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
28     that public accommodations or facilities constructed in this state with private funds



                                             COMPLAINT - 11
     Case 2:24-cv-06662-MRA-RAO Document 1 Filed 08/07/24 Page 12 of 13 Page ID #:12




 1     adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 2     Title 1 of the Government Code. The code relating to such public accommodations also
 3     require that “when sanitary facilities are made available for the public, clients, or
 4     employees in these stations, centers, or buildings, they shall be made available for
 5     persons with disabilities.
 6            49.    Title II of the ADA holds as a “general rule” that no individual shall be
 7     discriminated against on the basis of disability in the full and equal enjoyment of goods
 8     (or use), services, facilities, privileges, and accommodations offered by any person who
 9     owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
10     Further, each and every violation of the ADA also constitutes a separate and distinct
11     violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
12     award of damages and injunctive relief pursuant to California law, including but not
13     limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
14                                     FIFTH CAUSE OF ACTION
15                                           NEGLIGENCE
16            50.    Plaintiff incorporates by reference each of the allegations in all prior
17     paragraphs in this complaint.
18            51.    Defendants have a general duty and a duty under the ADA, Unruh Civil
19     Rights Act and California Disabled Persons Act to provide safe and accessible facilities
20     to the Plaintiff.
21            52.    Defendants breached their duty of care by violating the provisions of ADA,
22     Unruh Civil Rights Act and California Disabled Persons Act.
23            53.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
24     has suffered damages.
25                                       PRAYER FOR RELIEF
26            WHEREFORE, Plaintiff respectfully prays for relief and judgment against
27     Defendants as follows:
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                                              COMPLAINT - 12
     Case 2:24-cv-06662-MRA-RAO Document 1 Filed 08/07/24 Page 13 of 13 Page ID #:13




 1           1.     For preliminary and permanent injunction directing Defendants to comply
 2     with the Americans with Disability Act and the Unruh Civil Rights Act;
 3           2.     Award of all appropriate damages, including but not limited to statutory
 4     damages, general damages and treble damages in amounts, according to proof;
 5           3.     Award of all reasonable restitution for Defendants’ unfair competition
 6     practices;
 7           4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 8     action;
 9           5.     Prejudgment interest pursuant to California Civil Code § 3291; and
10           6.     Such other and further relief as the Court deems just and proper.
11                                DEMAND FOR TRIAL BY JURY
12           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
13     demands a trial by jury on all issues so triable.
14
15     Dated: August 7, 2024                   SO. CAL. EQUAL ACCESS GROUP
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17
18                                             By:    _/s/ Jason J. Kim___________
                                                      Jason J. Kim, Esq.
19                                                    Attorneys for Plaintiff
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                                             COMPLAINT - 13
